           Case 3:13-cr-00370-DCG Document 430 Filed 03/16/21 Page 1 of 1




                                  United States District Court
                                   Western District of Texas
                                       El Paso Division

  United States of America,
         Plaintiff,

  v.                                                     No. EP-13-CR-370(1)-DCG

  Marco Antonio Delgado,
        Defendant.

                                            Order

         Came on for consideration the Motion to Confirm Sale of Personal Property and Motion

to Distribute Proceeds (Doc. No.   (the “Motion”) wherein the United States of America

has requested an order confirming the sale of a Kawai Baby Grand Piano to Buyer T.L. for the

sum total of $3,900.00, and to distribute the proceeds of said sale, and good cause having been

found;

         IT IS THEREFORE ORDERED THAT the United States’ Motion is, in all things,

granted;

         IT IS FURTHER ORDERED THAT the proceeds of the sale of the personal property

shall be distributed to the Receiver to defray the costs in maintaining 1109 Cerrito Feliz in El

Paso, Texas.
         IT IS SO ORDERED.

  Dated:       March 15, 2021



                                               DAVID
                                                 V D C.
                                               DAVI  C. GUADERRAMA
                                                        GUADERRAMA
                                               UNITED STATES DISTRICT JUDGE
